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13
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14
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
     UNITED STATES OF AMERICA,                 ED No. CR 12-00092(B)-VAP
16
                                               GOVERNMENT’S POSITION REGARDING
17                                             SENTENCING FOR DEFENDANT SOHIEL
                       Plaintiff,
                                               OMAR KABIR
18               v.
                                               Hearing Date: February 23, 2015
19   SOHIEL OMAR KABIR, et al.,                Hearing Time: 9:00 a.m.
                                               Place: Courtroom of the Honorable
20                                             Virginia A. Phillips
                       Defendants.
21

22

23          The United States of America, by and through its counsel of
24    record, the Acting United States Attorney for the Central District of
25    California, and undersigned counsel, hereby submits its position
26    regarding sentencing for defendant Sohiel Omar Kabir.
27          The government’s position regarding sentencing is based on the
28    evidence admitted at trial, the jury’s verdicts, the United States
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 1    Probation Office’s Presentence Investigation Report (“PSR”), Revised

 2    PSR, First Addendum to the PSR, sentencing recommendation letter, and

 3    revised sentencing recommendation letter, the files and records in

 4    this case, and any such additional argument or evidence the Court may

 5    allow.

 6    Dated: February 9, 2015              Respectfully submitted,

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10
                                               /s/
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14                                         Attorneys for Plaintiff
15                                         UNITED STATES OF AMERICA

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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2    I.    INTRODUCTION
 3          On September 25, 2014, following a six-week jury trial,

 4    defendant Sohiel Omar Kabir (“Kabir”) was convicted of several counts

 5    of conspiracy as charged in the Second Superseding Indictment

 6    (“SSI”).    Specifically, Kabir was convicted of: conspiring to provide

 7    material support to terrorists in violation of 18 U.S.C. § 2339A

 8    (Count One); conspiring to provide material support and resources to

 9    Al-Qa’ida, a designated foreign terrorist organization (“FTO”) in

10    violation of 18 U.S.C. § 2339B (Count Two); conspiring to receive

11    military-type training from Al-Qa’ida in violation of 18 U.S.C. § 371

12    (Count Four); and conspiring to kill officers and employees of the

13    United States Government in violation of 18 U.S.C. § 1117 (Count

14    Five).   Kabir was acquitted of one count in the SSI, namely,

15    conspiring to commit murder, kidnapping, or maiming overseas in

16    violation of 18 U.S.C. § 956(a) (Count Three).

17          As evidenced by the convictions, Kabir was convicted of the most

18    serious federal offenses, including conspiring to commit murder,

19    providing material support to terrorists, and receiving military-type

20    training from Al-Qa’ida.      The evidence introduced at trial, which

21    included numerous recordings of Kabir’s statements and his social

22    media posts, demonstrated his intent to join the Taliban and Al-

23    Qa’ida and to kill U.S. military and other personnel.           As a result of

24    the convictions, Kabir faces a statutory maximum penalty and advisory

25    guidelines sentence of life imprisonment, which is the “starting

26    point and the initial benchmark” that is to be kept in mind

27    throughout the sentencing process.        United States v. Carty, 520 F.3d

28    984, 991 (9th Cir. 2008) (en banc).
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 1          Here, in determining the appropriate sentence, Kabir’s role and

 2    participation in the conspiracy simply cannot be overstated.             Kabir

 3    was the genesis and impetus for the group’s plan to travel overseas,

 4    join a terrorist group and commit murder and other acts of violence

 5    against U.S. military and other personnel.

 6          Indeed, as the evidence at trial established, Kabir was

 7    responsible for converting two of the co-defendants to Islam, namely,

 8    Ralph Kenneth Deleon (“Deleon”) and Miguel Alejandro Santana

 9    Vidriales (“Santana”), and he introduced them to violent and radical

10    Islamic extremist views.      These views included an interpretation of

11    Islam espoused by the radical cleric Anwar Al-Awlaki and other

12    terrorist leaders, who called for violent jihad against the West,

13    particularly against the United States, as a means to retaliate for

14    its perceived treatment of Muslims in foreign lands.

15          At or near the time Kabir converted Deleon and Santana to Islam,

16    he encouraged them to travel overseas to engage in violent jihad.

17    This encouragement increased when Kabir departed the United States

18    for Afghanistan in 2011.      Kabir also assisted in recruiting others

19    into the conspiracy, including Arifeen Gojali (“Gojali”).

20          Moreover, throughout the conspiracy, Kabir continued to

21    encourage the group to join him in Afghanistan, including by telling

22    them about his connections to the Taliban and Al-Qa’ida, discussing

23    his physical preparations for fighting and warfare, and various

24    “missions” and operations he was asked by terrorists to participate

25    in (including a suicide mission involving explosives), advising and

26    assisting with travel plans, and discussing living arrangements for

27    the group when they arrived in Afghanistan.

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 1           As the plans for the U.S.-based co-defendants to depart the

 2    United States solidified, Kabir instructed the group on how to pack,

 3    including asking Deleon to bring his U.S. military uniforms (further

 4    demonstrating an intent to kill U.S. military personnel), and an X-

 5    box to direct unwanted attention away from their true intentions,

 6    which was to fight and kill.       In addition, Kabir instructed the co-

 7    defendants to prepare themselves for fighting in Afghanistan by

 8    exercising specific parts of the body to build the strength necessary

 9    to carry weapons and the wounded from the battlefield and by training

10    with assault-rifles, which, again, they did for the purpose of

11    joining the Taliban and Al-Qa’ida and killing others, including U.S.

12    and other military personnel.       Put simply, Kabir was involved in all

13    aspects of the group’s plans.

14           The seriousness of the offenses and the substantial role Kabir

15    played in the conspiracy militate heavily in favor of a significant

16    sentence here.     Further, Kabir’s prior offenses, which span a period

17    of over 10 years and include approximately 11 convictions,

18    demonstrate a continued disregard for the law.          Kabir’s disregard for

19    the law continued even after he was arrested on the charges for which

20    he was convicted.     While Kabir was awaiting trial in this case, he

21    sustained multiple disciplinary actions against him by the Bureau of

22    Prisons (“BOP”), including for assault on an inmate, unauthorized use

23    of the telephone and mail abuse.

24           The appropriate sentence in this case needs to adequately

25    reflect the seriousness of the offenses, Kabir’s pivotal role in the

26    offenses, to afford just punishment and to promote respect for the

27    law.   A substantial sentence is also needed to deter individuals like

28    Kabir, who may sympathize with extremist views or hold real or

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 1    perceived grievances of their own from embracing and contemplating

 2    acts of violence, as Kabir and the co-defendants were intent on doing

 3    here.

 4            Accordingly, as set forth below, in considering the factors

 5    under 18 U.S.C. § 3553(a), the government respectfully submits that

 6    the appropriate sentence in this case is 420 months’ imprisonment

 7    (35 years), followed by a lifetime of supervised release and a

 8    mandatory special assessment of $400.         This sentence, which the

 9    United States Probation Office (“USPO”) agrees with, is well below

10    the statutory maximum sentence and the advisory guidelines range of

11    life imprisonment and is sufficient but no greater than necessary to

12    comply with the factors set forth in 18 U.S.C. § 3553(a).

13    II.     THE OFFENSE CONDUCT
14            The government agrees with, and requests that the Court adopt

15    the statement of offense conduct set forth in the USPO’s Presentence

16    Investigation Report (“PSR”) and Revised PSR (“R-PSR”).            See PSR, R-

17    PSR ¶¶ 9-21.    Because the Court is familiar with Kabir’s and the co-

18    defendants’ conduct in this case, including the evidence admitted at

19    trial, the facts of this case are only partially recounted here.

20            In 2010, Kabir influenced Deleon and Santana to convert to Islam

21    and introduced them to radical and violent Islamic doctrine.             Santana

22    explained to the Confidential Source (“CS”) in a recording dated July

23    5, 2012, that he had expressed to Kabir an interest in joining the

24    U.S. armed forces, and Kabir responded that the military are the

25    “terrorists” who were oppressing people.         (Exhibit 593).     At that

26    time, Kabir introduced Santana to Anwar Al-Awlaki and encouraged him

27    to join the “other side” where “they are fighting for something . . .

28    a worthy cause.”     (Id.)

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 1          Kabir’s encouragement had an immediate and profound impact on

 2    Santana, as evidenced in a conversation Santana had with the CS on

 3    September 20, 2012.      Santana explained that he “literally just came

 4    to Islam like strictly with fisabiallah.”1         (Exhibit 656).     Deleon

 5    had a similar conversation with the CS the same day, in which Deleon

 6    explained that it was Kabir who encouraged him to go overseas.

 7    (Exhibit 665).

 8          In a subsequent conversation with the CS, Deleon recounted that

 9    Kabir said “if it wasn’t for Islam, I would have already killed so

10    much (sic) people, but now, I know which people that I want to like

11    take out.”    (Exhibit 655).     When Santana told Deleon that he finally

12    found a group he belonged to and that he had found something worth

13    fighting for, Deleon responded that it was the “only thing worth

14    fighting for.”     (Exhibit 654).    Thus, as evidenced in the recordings,

15    Kabir introduced Deleon and Santana to radical Islamic views and

16    encouraged them to act on those views by traveling overseas to fight

17    from the very beginning.

18          After introducing Deleon and Santana to radical Islamic views,

19    on December 28, 2011, Kabir traveled from the United States to

20    Germany, where he remained until July 2012, when he relocated to

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             As evidenced by the communications between the co-defendants
24    and also, as explained by the government’s expert witness, Evan
      Kohlmann, when used in the context of this case and the evidence
25    introduced at trial, the term “fisabilallah” meant violent jihad.
      (See Exhibit 571 (Deleon and Santana discuss the concept espoused by
26    Anwar Al-Awlaki that fisabillah is mandatory, and that the only way
      they are going to be victorious is by the sword.”); 9/9/2014 AM
27    Session RT at 23).
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 1    Afghanistan.2      (8/26/14 AM Session RT at 99-100.)      Thereafter, in

 2    February 2012, the CS met Deleon and Santana.          Deleon, Santana and

 3    the CS discussed radical Islamic views and later, in May of 2012,

 4    Deleon informed the CS of their plan to travel overseas to engage in

 5    violent jihad and invited him to join them.

 6            In conversations with the CS, Deleon and Santana discussed

 7    potential targets for violent attacks overseas, including American

 8    military personnel and bases.       Deleon and Santana made numerous

 9    statements to the CS regarding their intention to join Kabir in

10    Afghanistan and to engage in violent jihad.          (Exhibits 580, 605,

11    655).       For instance, during a conversation on July 11, 2012, Deleon

12    said that he wanted to be on the front lines or use explosives and

13    Santana said that he wanted to be a sniper.          (Exhibit 583).    During

14    another conversation on July 11, 2012, Santana told the CS that there

15    were Al-Qa’ida camps in Afghanistan and that he wanted to join Al-

16    Qa’ida because there were “more targets.”         (Exhibit 600).

17            While in Afghanistan, Kabir continued to communicate with Deleon

18    and Santana and encouraged them to join him in Afghanistan to engage

19    in violent jihad.      Specifically, in a recording on August 8, 2012,

20    Deleon told the CS that he skyped with Kabir and Kabir said he “loves

21    it in Afghanistan” and encouraged Deleon to “come on down.”            (Exhibit

22    609).       During that same conversation, to further encourage Deleon to

23    join him in Afghanistan, Kabir said there were several people who

24    wanted to go fight and the “mujahid” were begging to be picked for

25    “operation[s].”      (Id.)   Kabir had a similar conversation with Santana

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27            Although Kabir left for Afghanistan in 2011, the evidence at
      trial established that he had an interest in traveling to Afghanistan
28    since at least 2008. (See 9/10/14 PM Session RT at 14.)

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 1    a few weeks later, on August 26, 2012, when Kabir sent Santana an

 2    email that said “everything’s set up for you guys out here.            Now you

 3    just gotta come.”     (8/20/14 PM Session RT at 66.)

 4          On August 31, 2012, Kabir told Deleon and Santana during a Skype

 5    call that he made contacts in Afghanistan and that upon their

 6    arrival, they would join the “Students,” referring to the Taliban,

 7    and then would advance to join the “professors,” referring to Al-

 8    Qa’ida.   (Exhibit 621).     During that conversation, Deleon asked Kabir

 9    whether it would be a problem for the co-defendants because they were

10    coming from the United States.       Kabir responded, “No, no.       Cause I’ll

11    be here.”    Kabir then re-assured the group that he already told the

12    “brothers about you guys coming through” and they said, “bring ‘em

13    down man.”    (Id.)

14          Shortly after that Skype call, in a separate conversation that

15    same day, Deleon told the CS that they would be with the Taliban and

16    afterwards they would join “AQ.”          (Exhibit 622).

17          Throughout the conspiracy, Kabir and the co-defendants made

18    clear, through social media posts and both verbal and written

19    communications, that they intended to fight and kill American and

20    allied troops that oppressed Muslims and occupied Muslim lands.             At

21    trial, the government introduced numerous Internet postings and

22    videos from Kabir’s facebook page that demonstrated his intent to

23    engage in military training and commit acts of violent jihad,

24    including killing U.S. military and other personnel, such as: (1) a

25    video posted on Kabir’s Facebook page in July 2012, entitled “Daily

26    Life of a Majahid 7,” which celebrated the martyrdom of an individual

27    who drove a vehicle with explosives into a military base in

28    Afghanistan (Exhibit 88); and (2) a video posted on Kabir’s Facebook

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 1    Page in January 2012, the Du’a of Sheikh Mohaisany, which Kabir

 2    labeled a “powerful prayer” (which Deleon liked), that was a

 3    recording of a prayer released around the time of the invasion of

 4    Iraq that called for Allah to destroy the United States.            That video

 5    depicts, among other things, mujahideen fighters operating in active

 6    battles, the twin towers being attacked and battles that appear to be

 7    in the Middle East and Afghanistan and elsewhere.           (Exhibit 224).

 8          In September 2012, Deleon recruited co-defendant Gojali to join

 9    the conspiracy to travel overseas and engage in violent jihad against

10    Americans and others.      Kabir had a role in recruiting Gojali into the

11    conspiracy.     Notably, in an email dated October 4, 2012, Deleon asked

12    Kabir whether he should invite Gojali into the group.            Kabir

13    responded, “if that brother has the same intentions . . . let him

14    roll too . . . .”      (Exhibit 354).

15          At trial, Gojali testified that, when he joined the group, the

16    group planned to join Kabir in Afghanistan and to fight.            (8/27/14 AM

17    Session RT at 89-90.)      Gojali also testified that the group intended

18    to go out and fight American, British, and Australian soldiers and

19    U.N. Forces.     (Id. at 90.)    Gojali was informed that Deleon was

20    elected as the “emir” or leader of the group.          (Id. at 92.)      However,

21    the plan was that once the group arrived in Afghanistan, Kabir would

22    be the emir.     (Id.)

23          In the few months preceding their arrest in November 2012,

24    Deleon, Santana and Gojali continued to communicate with Kabir as

25    they discussed their plans to meet Kabir in Afghanistan.            Kabir was

26    involved in all aspects of the group’s plans to travel to Afghanistan

27    to join the Taliban and Al-Qa’ida and to kill U.S. military and other

28    personnel.     Kabir advised them of routes to travel to Kabul.

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 1    (Exhibit 519).     He discussed arranging an apartment for the group to

 2    stay when they arrived in Afghanistan.         (Exhibit 522, 528, 535;

 3    8/27/14 PM Session RT at 14).        Kabir also informed them he had made

 4    arrangements to join the Taliban and he had contacts with Al-Qa’ida.

 5    (Exhibits 525, 526, 535).       He encouraged them to train and prepare

 6    for jihad.     (Exhibits 516, 669 516).      Kabir also instructed them on

 7    how to pack and asked them to bring specific items to Afghanistan,

 8    including his U.S. military uniforms and an X-box.           (Exhibit 540).

 9           While they were in the United States, Deleon, Santana and Gojali

10    took steps to prepare for their intended travel to Afghanistan,

11    including participating in physical exercise, paintball activities,

12    and training with M16 and AK-47 assault rifles and other firearms at

13    firing ranges.     (8/27/14 PM Session RT at 101-106).        Gojali testified

14    that Deleon said going to paintball was good training and would be

15    the closest thing to live combat.          (Id. at 102).   At the firing

16    range, Deleon selected the AK-47 assault rifle for Gojali to train

17    with because it was the rifle that would be used when they traveled

18    overseas.    (Id. at 106.)     Gojali stated that, when he left on

19    November 16, 2012, he intended to use an AK-47 to kill American

20    soldiers overseas.      (Id. at 55.)

21           In addition, Deleon, Santana and Gojali obtained valid passports

22    in order to travel to Afghanistan.         In July 2012, Santana renewed his

23    Mexican passport.      In November 2012, Gojali obtained a United States

24    passport.    In order to raise money for their travel, Deleon withdrew

25    from college, obtained a refund of his tuition money and sold his

26    car.

27           A few weeks before the co-defendants’ attempted departure from

28    the United States, during a call on November 6, 2012, Kabir informed

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 1    Deleon he was leaving on a “one-way trip” and that a person would be

 2    waiting at the airport in Kabul to meet Deleon and the others upon

 3    their arrival.     (Exhibit 548).     When Deleon asked whether Kabir’s

 4    trip involved the third letter of the alphabet and the fourth number

 5    (referring to C4, an explosive), Kabir responded “Inshallah” (Arabic

 6    for “God willing”) and explained that he was given the choice.             (Id.)

 7          Thereafter, in November 2012, Deleon, Santana, and Gojali

 8    purchased airline tickets to fly from Mexico City to Istanbul,

 9    Turkey.    Deleon asked an individual to drive them to Mexico and told

10    the individual that he would receive heavenly rewards for aiding

11    Deleon and the others.       On November 16, 2012, the FBI arrested

12    Deleon, Santana and Gojali in a car as they were departing an

13    apartment in Chino, California, intending to drive to Mexico.             After

14    co-defendants were arrested, United States military personnel

15    captured Kabir in Afghanistan and later relinquished him to the FBI

16    pursuant to an arrest warrant issued in this case.

17    III. SENTENCING ANALYSIS
18          When fashioning a sentence, the court must consider the

19    statutory factors set forth in 18 U.S.C. § 3553(a) in light of the

20    “totality of circumstances” relating to the crime and the defendant.

21    United States v. Reyes, 764 F.3d 1184, 1198 (9th Cir. 2014) (quoting

22    United States v. Carty, 520 F.3d 984, 993 (9th Cir. 2008) (en banc)).

23    The court must begin by correctly calculating the applicable

24    sentencing range under the United States Sentencing Guidelines,

25    which, although advisory, is “the starting point and the initial

26    benchmark” that is “to be kept in mind throughout the process.”

27    Carty, 520 F.3d at 991 (internal quotation and citation omitted).

28    After considering the parties’ arguments, the court must then

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 1    determine whether a departure or variance is warranted and, if so, to

 2    what extent.      Id.

 3           As discussed below, no departure or variance is warranted here

 4    other than the government’s recommended term of 420 months'

 5    imprisonment (35 years).       The government submits that this sentence

 6    is no greater than necessary to reflect the seriousness of Kabir’s

 7    offenses, promote respect for the law, provide just punishment,

 8    afford adequate deterrence and protect the public.

 9           A.      The Guidelines Calculations
10           The government agrees with, and requests that the Court adopt,

11    the USPO’s guidelines calculations as stated in its first PSR, see

12    PSR ¶¶ 25-41, which include the following base offense levels:

13           Count One, 18 U.S.C. § 2339A: Level 38        USSG §§ 2X2.1, 2A1.2

14           Count Two, 18 U.S.C. § 2339B: Level 26        USSG § 2M5.3

15           Count Four, 18 U.S.C. § 371: No Guideline Calculation

16           USSG §§ 2X1.1, 2X5.1

17           Count Five, 18 U.S.C. § 1117: Level 33        USSG § 2A1.5

18           Because Kabir and co-defendants intended to kill, and provide

19    material support to the killing of, American and allied forces, the

20    government does not object to the USPO’s recommended grouping of the

21    offenses in this case.       See PSR ¶ 25, R-PSR ¶ 25.3      Accordingly,

22    under USSG § 3D1.3(a), the base offense level is derived from Count

23    One.       See PSR ¶¶ 26-27, R-PSR ¶¶ 26-27.

24           The USPO properly assesses that, given Kabir’s role as an

25    organizer and leader in the plot, both discussed above and

26
             3
27           The government submits that such grouping may not be
      necessarily appropriate in other cases involving similar counts of
28    conviction.

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 1    extensively at trial, a two-level increase is warranted under USSG

 2    § 3B1.2(c).     See PSR ¶¶ 35-38, R-PSR ¶¶ 34-36.

 3            Lastly, the USPO correctly recognizes that a 12-level increase

 4    under USSG § 3A1.4 applies in this case.          See PSR ¶ 34, R-PSR ¶ 33.

 5    As a result, the USPO initially found that the adjusted total

 6    adjusted offense level is 52.        See PSR ¶ 40.    The USPO later found in

 7    the revised PSR that the total adjusted offense level is 47.             R-PSR

 8    ¶ 38.    Although paragraph 31 of the revised PSR correctly recites the

 9    guidelines provisions applicable to the underlying predicate

10    offenses, including the fact that USSG § 2A1.2 is among the

11    provisions applicable to a violation § 2332(a) (one of the predicates

12    here), the paragraph nonetheless concludes that the lesser provision,

13    USSG § 2A1.5, applies.       See R-PSR ¶ 29.    The revised PSR thus does

14    not account for the § 2332(a) predicate or explain why it does not.

15            The revised approach, which relies on § 2A1.5, is not

16    appropriate here.      If the § 2339A conspiracy charged in Count One had

17    as its only predicate a violation of § 2332(a) (i.e., a conspiracy to

18    provide material support in furtherance of killing), USSG § 2A1.2

19    would apply.     The fact that § 2332(a) is not the only predicate does

20    not justify ignoring it, especially when it remains the most serious

21    offense.

22            In any event, the government agrees, and requests that the Court

23    find, that the total adjusted offense level is the same regardless of

24    whether § 2A1.2 or § 2A1.5 controls.         Under either provision, the

25    resulting offense level is higher than the highest level in the

26    sentencing table (level 43); see PSR ¶¶ 40-43; R-PSR ¶¶ 38-41; and

27    thus, must be artificially reduced to level 43.           See USSG Ch. 5, Part

28    A, comment n.2; PSR ¶ 43; R-PSR ¶ 41.         By operation of USSG § 3A1.4,

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 1    Kabir’s criminal history category is VI.          See R-PSR at 4, R-PSR ¶ 60.

 2    Accordingly, Kabir’s guidelines sentencing range is life.4

 3                1.    The Terrorism Enhancement Applies To All Counts

 4          The government agrees with the probation officer that the

 5    terrorism enhancement in USSG § 3A1.4 applies in this case, see R-PSR

 6    ¶ 33, not only to the offense resulting in the most serious

 7    guidelines range, but to all offenses.         Section 3A1.4 applies to

 8    felonies that involved, or were intended to promote, a federal crime

 9    of terrorism.     USSG § 3A1.4.     For purposes of the enhancement, a

10    “federal crime of terrorism” means: (a) an offense calculated to

11    influence or affect the conduct of government by intimidation or

12    coercion, or to retaliate against government conduct; and (b) is

13    listed in 18 U.S.C. § 2332b(g)(5).          USSG § 3A1.4, comment n.1; 18

14    U.S.C. § 2332b(g)(5).

15                      a.    Each Count Involved Or Was Intended to Promote A
                              § 2332b(g)(5) Offense
16

17          Each of Kabir’s counts of conviction involved or was intended to

18    promote terrorism offenses enumerated in § 2332b(g)(5), namely,

19    violations of § 2339A, conspiracy to provide material support to

20    terrorists (Count One); § 2339B, conspiracy to provide material

21    support to a FTO (Count Two); § 371, conspiracy to receive military-

22    type training from, and on behalf of Al-Qa’ida (Count Four); and

23    § 1117, conspiracy to murder officers and employees of the United

24    States (the crime Kabir conspired to commit in Count 5).            See 18

25    U.S.C. § 2332b(g)(5).

26
            4
27           The range would be the same even if Kabir’s criminal history
      category was category V, which is based on 11 prior convictions
28    spanning the period of 1996 to 2006. R-PSR ¶¶ 47-57.

                                             13
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 1                      b.    Each Offense Was Intended to Influence, Affect,
                              Or Retaliate Against Government Conduct
 2

 3          To satisfy the first prong of the “federal crime of terrorism”

 4    definition, the evidence need only prove5 that the offense was
 5    calculated to influence or affect government conduct by intimidation

 6    or coercion, or to retaliate against government conduct.            Application

 7    of § 3A1.4(a) does not require a finding that the defendant was

 8    personally motivated by a desire to influence or affect the conduct
 9    of government, or to retaliate against government conduct.             See

10    United States v. Awan, 607 F.3d 306, 316-318 (2d Cir. 2010) (the

11    government need not show defendant was personally motivated to

12    influence government if it shows that he intended to promote a crime

13    calculated to have such an effect); United States v. Jayyousi, 657

14    F.3d 1085, 1114-15 (11th Cir. 2011) (holding that the first prong of

15    USSG § 3A1.4(a) focuses on the “the intended outcome of the

16          5
             “The preponderance of evidence standard is generally the
17    appropriate standard for factual findings used at sentencing.”
      United States v. Felix, 561 F.3d 1036, 1045 (9th Cir. 2009).
18    However, in the Ninth Circuit, “when a sentencing factor has an
      extremely disproportionate effect on the sentence relative to the
19    offense of conviction, the government may have to prove the factor by
      clear and convincing evidence. Id. (internal quotation marks and
20    citations omitted). The government recognizes that under current
      Ninth Circuit law, it must prove the application of USSG § 3A1.4 by
21    clear and convincing evidence. See United States v. Tankersley, 537
      F.3d 1100, 1106 & n.5 (9th Cir. 2008)(assuming, without deciding,
22    that “clear and convincing” standard of proof applies to
      determination of facts underlying application of USSG § 3A1.4);
23    United States v. Thurston, 2007 WL 1500176, *19 (D. Or. 2007)(finding
      that “clear and convincing” standard of proof applies to
24    determination of facts underlying application of USSG § 3A1.4). The
      government submits that it has done this. However, for purposes of
25    preserving its position on appeal, and due to the circuit split on
      this issue, the government argues that the standard of proof for all
26    sentencing factors should be proof by a preponderance of the
      evidence. See, e.g., United States v. Graham, 275 F.3d 490, 517 n.19
27    (6th Cir. 2001)(holding that preponderance of evidence standard of
      proof applies to determination of facts for application of USSG
28    § 3A1.4).

                                             14
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 1    defendant[’s] unlawful acts - i.e., what the activity was calculated

 2    to accomplish, not what the defendant[’s] claimed motivation behind

 3    it was . . . . [d]efendant’s motive ‘is simply not relevant.’”);

 4    accord United States v. El-Mezain, 664 F.3d 467, 571 (5th Cir. 2011)

 5    (citing with approval both Awan and Jayyousi); see also United States

 6    v. Chandia, 675 F.3d 329, 340-341 (4th Cir. 2012) (affirming

 7    application of terrorism adjustment where the court reasonably

 8    inferred that the defendant intended to advance the terrorist

 9    organization’s purpose based on the defendant’s knowledge about the

10    terrorist organization).

11          Here, considerable evidence shows that Kabir subscribed

12    wholeheartedly to the extremist ideology of Al-Awlaki and other

13    terrorist leaders who espoused violent jihad against the West,

14    particularly against the United States, as a means to retaliate

15    against the United States for its perceived treatment of Muslims.

16    Indeed, the evidence introduced at trial established that as early as

17    2005, Kabir had in his possession documents containing extremist

18    ideologies calling for violent jihad against the West.

19          At trial, the government introduced testimony from FBI Special

20    Agent Jeffrey Stiff, who assisted in the search of Kabir’s residence.

21    (8/14/14 PM Session RT at 83-84).           During the search, SA Stiff found

22    in a shoe box containing other documents belonging to Kabir

23    approximately a dozen documents from the extremist Internet website

24    “Jihad Unspun.”     (Id. at 98-99).     One of the pages from the documents

25    included the following passage:

26          When the Americans hear the Mujahideen cries of “Allah
            Akbar” (God is Greatest) and “labiak alahuma labiak” (I am
27          here, oh God, I am here), they shiver with fear even before
            they get to them from 300 meters away. Let me tell you
28
            something. Sometimes I used to rejoice within myself when

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 1            I saw Mujahaideen butchering and killing lots of them, the
              Americans, because there’s nobody who prefers an American
 2            over an Iraqi or Arab Muslim.
 3
      (Id.)
 4
              Moreover, as the evidence at trial established, Kabir introduced
 5
      Deleon and Santana to Anwar Al-Awlaki and his radical ideologies
 6
      calling for violent jihad against the west.          For example, in a July
 7
      5, 2012 recording, Santana explained to the CS that, after Kabir had
 8
      told him the military are the “terrorists” who were oppressing
 9
      people, Kabir introduced Santana to Al-Awlaki and encouraged him to
10
      join the “other side” where “they are fighting for something . . . a
11
      worthy cause.”     (Exhibit 593).     Kabir had a similar conversation
12
      encouraging Deleon to go overseas and fight when Kabir converted him
13
      to Islam.    (Exhibit 665).
14
              At trial, Mr. Kohlmann testified extensively about the context
15
      of the jihadi movement that Kabir sought to join and the movement’s
16
      antipathy toward the United States and its allies.           (9/9/14 RT AM
17
      Session at 21-24).      That context leaves no doubt as to the intended
18
      effect of Kabir’s and the co-defendants’ conduct in this case.
19
              The extensive propaganda circulated by the defendants included
20
      the teachings of key figures in the global jihadi movement such as
21
      Sheikh Abdullah Azzam, the godfather of contemporary violent jihad,
22
      who taught that the United States is the enemy of the jihadi movement
23
      and should be fought.      (See, e.g., Exhibit 386 (an image of Azzam
24
      posted by Deleon with the quote “Death is only but once, so let it be
25
      in the path of Allah.”); 9/5/14 RT PM Session at 69-72).            Kohlmann
26
      also discussed the history of violent movements like the Taliban and
27
      Al-Qa’ida, in their efforts to fight against Soviet, and later
28
      American, occupation of the historically Muslim country of

                                             16
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 1    Afghanistan.     (9/5/14 RT PM Session 77-85).        Kohlmann also noted that

 2    the United States military has remained in Afghanistan since the

 3    invasion of 2001, id. at 84, about which Kabir posted (and Deleon

 4    liked) reporting of updates by the Taliban about its fight against

 5    the U.S. and others.      (See, e.g., Exhibits 207 (at 19) and 200 (at

 6    8)).

 7           Kohlmann explained that the invasion of Iraq by the United

 8    States and its allies in 2003 and 2004 lent credibility to jihadists’

 9    rhetoric and that they used images from the war, such as at Abu

10    Ghraib, as recruiting tools to encourage individuals to fight.

11    (9/5/14 RT PM Session at 27-29).6           Further, Kohlmann testified that a

12    video posted on Kabir’s Facebook Page in January 2012, the Du’a of

13    Sheikh Mohaisany, which Kabir labeled a “powerful prayer” and which

14    Deleon liked, featured graphic images of the 9/11 attacks on the

15    World Trade Center and photos of U.S. leaders with an audio recording

16    of a prayer released soon after the invasion of Iraq literally

17    calling for God to destroy the United States.           (9/5/14 RT PM Session

18    at 27; Exhibits 224, 493).       The invasion of Iraq resulted in a wave

19    of jihadi fighters going to the Middle East to join the fighting.

20    (Id. at 29).     This is the movement that Kabir and his co-defendants

21    planned to join.

22           The doctrine of Al-Awlaki is particularly instructive.           Al-

23    Awlaki taught that, like his brothers in Al-Qa’ida, he came to the

24    conclusion that violent jihad is obligatory upon all Muslims.

25    (9/9/14 RT AM Session at 33-34; see Exhibit 234).           Kohlmann also

26
             6
             Dr. Sageman’s testimony was similar.          (See 9/10/14 RT AM
27    Session 66-70).
28

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 1    testified that Al-Awlaki posted materials condemning Muslims for

 2    voting in the American presidential election and ordered Muslims

 3    never to vote and instead to participate in violent jihad.             (9/5/14

 4    RT PM Session at 98-100).       According to Al-Awlaki, it would be

 5    difficult to engage in jihad without first making hijrah (emigrating)

 6    to Muslim lands and that the concepts are closely intertwined and

 7    cannot be separated.      (9/9/14 RT AM Session at 34-35).

 8          Kohlmann testified about additional works by Al-Awlaki that

 9    appear in the defendants’ social media and Deleon’s digital devices,

10    including a passage of an Al-Awlaki lecture that can be heard in the

11    video “The Light 46: The Black Flags of Khorasan” (Exhibit 215),

12    which, as discussed above, both Kabir and Deleon posted online in

13    December 2011 (Exhibits 486, 712; 9/9/14 RT AM Session at 35-42).

14    Kohlmann also discussed another of Al-Awlaki’s lectures appearing in

15    the evidence, “The Battle of the Hearts and Minds,” in which Al-

16    Awlaki argues that violent jihad is an essential part of the Muslim

17    faith.    (Id. at 43).

18          At trial, defense expert Dr. Marc Sageman corroborated much of

19    Kohlmann’s testimony.      Among other things, Dr. Sageman confirmed the

20    jihadi movement’s antipathy toward the West, including Bin Laden’s

21    and Al-Qa’ida’s declarations of war against the United States.

22    (9/10/14 RT AM Session at 66-70).           According to Dr. Sageman, “the

23    main objection” underlying Al-Qa’ida’s calls for war against

24    Americans was the United States’ presence on Saudi soil, the land of

25    the two holiest cities in Islam.        (Id. at 66).     Dr. Sageman

26    acknowledged that, since the U.S. invasions of Afghanistan and Iraq,

27    the Al-Qa’ida movement had flourished.          (Id. at 70-71).    According to

28    Dr. Sageman, neo-jihadis viewed the calls by Al-Qa’ida to fight off

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 1    the American occupiers in Afghanistan and Iraq as religiously

 2    obligatory calls to jihad.       (9/10/14 RT AM Session at 89-90).

 3          It was precisely this global jihadist movement’s fight against

 4    the United States and others that the defendants sought to join here.

 5    Their agreement to do so — and to fight and kill on the battlefield —

 6    was undertaken in retaliation for the conduct of the United States

 7    and its allies, specifically in occupying Muslim lands in

 8    Afghanistan, Iraq and elsewhere and the perceived oppression of

 9    Muslims, and was intended to affect the government conduct by

10    attacking, demoralizing, and driving out the occupiers.

11          B.     A 420-Month Sentence Represents An Appropriate Variance
12          The government’s recommended sentence of 420 months varies

13    downward from the guidelines range of life, recognizing in part the

14    nature of the offenses and Kabir’s personal history and

15    circumstances.      The Probation Officer’s recommendation does the same.

16    See Revised Rec. Letter at 1.        No further variance is appropriate.

17          C.     The § 3553 Factors Support A Sentence Of At Least 35 years
18                 1.     Kabir’s Offenses Were Extremely Serious

19          The applicable Guidelines’ range of life illustrates the

20    seriousness of the offenses here.           Terrorism offenses represent a

21    particularly grave threat “because of the dangerousness of the crime

22    the difficulty of deterring and rehabilitating the criminal.”             United

23    States v. Meskini, 319 F.3d 88, 92 (2d Cir. 2003).           Thus, Congress

24    and the Sentencing Commission were right to conclude “that terrorists

25    and their supporters should be incapacitated for a longer period of

26    time.”     Id.    The Ninth Circuit, when reversing a substantively

27    unreasonable sentence in a terrorism case for the second time,

28    expressly shared a similar concern raised by the Eleventh Circuit:

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 1          [a]lthough recidivism ordinarily decreases with age, we
            have rejected this reasoning as a basis for a sentencing
 2          departure for certain classes of criminals, namely sex
            offenders. We also reject this reasoning here. “Terrorists,
 3          even those with no prior criminal behavior, are unique
            among criminals in the likelihood of recidivism, the
 4          difficulty of rehabilitation, and the need for
            incapacitation.”
 5

 6    Ressam, 679 F.3d at 1090 (quoting Jayyousi, 657 F.3d at 1117)

 7    (emphasis added).

 8          Kabir’s crimes, and particularly, his role in introducing to

 9    Deleon and Santana to the views of radical ideology calling for

10    violent acts against the West, encouraging the co-defendants to

11    engage in such violent acts, and instructing them on how to do so,

12    were extremely serious.       Indeed, as noted, Kabir’s pivotal role and

13    participation in the conspiracy cannot be overstated, as he was

14    involved in the all aspects of the group’s plans and was, in fact,

15    the person who instigated the conspiracy.

16          As previously discussed, Kabir was the person who was

17    responsible for introducing violent and radical Islamic ideology,

18    including those espoused by Anwar Al-Awlaki, to Deleon and Santana.

19    Kabir was also the primary impetus for encouraging them to travel to

20    Afghanistan to engage in violent jihad.

21          In addition, Kabir acted on his expressed desires to travel

22    overseas when he left the United States for Afghanistan in 2011.

23    And, while he was there, he encouraged Deleon and Santana to join him

24    in Afghanistan by inviting them to “come down,” assuring that they

25    would be taken care of when they arrived there, discussing with the

26    group his contacts with the Taliban and Al-Qa’ida and discussing

27    specific travel and living arrangements.

28

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 1            Nonetheless, Kabir has argued in previous filings with the Court

 2    that the government failed to introduce evidence that he personally

 3    participated in paintball activities and firing ranges, and

 4    therefore, unlike the co-defendants, he had no intent to commit acts

 5    of violence or kill others.       The mere fact that Kabir was not

 6    physically present at paintball ranges or training with assault

 7    rifles with the co-defendants is immaterial, for several reasons.

 8            First, the reason he did not participate in those activities was

 9    because he had already departed the United States for Afghanistan in

10    2011.    Second, and more importantly, it was Kabir who encouraged and

11    instructed the group to engage in many of the specific acts of

12    preparation that the co-defendants engaged in.           Third, the

13    instructions that Kabir gave the co-defendants involved not only

14    going to paintball and firing ranges; as noted, Kabir was involved in

15    all aspects of the group’s plans, including providing instructions

16    for financing the trip to Afghanistan (i.e., by selling Deleon’s

17    car), discussing various terrorist groups to join and the contacts

18    Kabir had in those groups, as well as “missions” and “operations”

19    that demonstrated that fighting was active in the areas they planned

20    to travel to, and discussing travel logistics and living

21    arrangements.

22            Finally, in considering the seriousness of the offense, it is

23    important to again highlight the fact that, at bottom, the underlying

24    objective of Kabir’s plan was to join the Taliban and Al-Qa’ida to

25    fight and kill U.S. and other military personnel.           Even among the

26    vast array of federal crimes, the offenses for which Kabir was

27    convicted of are the most serious.

28

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 1                 2.   Kabir’s Criminal Conduct In this Case is Consistent
                        with his Pattern of Disrespect for the Law and a
 2                      Lengthy Sentence is Required to Deter Him from
                        Committing Similar or More Serious Crimes in the
 3                      Future

 4          The government’s request for a term of imprisonment of 420

 5    months also takes into account Kabir’s history and characteristics.

 6    In addition to the seriousness of the offense and the pivotal role he

 7    played in the conspiracy, the sentence here should also promote

 8    respect for the law and provide for adequate deterrence against

 9    future criminal conduct, given that Kabir has demonstrated a repeated

10    disregard for the law.       Indeed, Kabir’s disrespect for the law

11    continued even after he was arrested on the charges in this case.                 As

12    noted in the revised letter regarding sentencing, while Kabir was in

13    BOP custody, he sustained several disciplinary actions, including for

14    assaulting another inmate, unauthorized telephone use and mail abuse.

15          Moreover, with regards to Kabir’s history and characteristics,

16    the R-PSR includes information provided by Kabir about his difficult

17    upbringing, medical conditions and history of substance abuse.             R-PSR

18    ¶¶ 71-102.     As an initial matter, it is important to note that many

19    of the facts provided by Kabir (which are plainly self-serving) are

20    contradicted by the evidence introduced by defense witnesses at

21    trial.

22          For example, contrary to the characterization that Kabir was a

23    medically-impaired individual, a defense witnesses testified at trial

24    that, when Kabir stayed with her family in Germany, he was a strong

25    young man who, among other things, was able to work, navigate public

26    transportation and walked a significant distance to attend classes.

27    (9/11/14 AM Session RT at 19).        The R-PSR also noted that Kabir

28    reported that he liked to live in Germany and wanted to find out how

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 1    to stay there.     R-PSR ¶ 74.    However, that too was contradicted by

 2    the record.     Kabir’s relatives who lived in Germany testified that

 3    after he arrived in Germany in 2011, he made no meaningful attempts

 4    to extend his visa, despite being counseled by his family members

 5    about how to do so.      (9/10/14 PM Session RT at 35.)       Another family

 6    member testified that she had a Facebook conversation with Kabir in

 7    October 2012 (when he had already encouraged the co-defendants to

 8    join him in Afghanistan) and Kabir said that Germany was not a good

 9    place for him to live.       (9/9/14 PM Session RT at 70.)

10          In any event, to the extent there are factual discrepancies in

11    the R-PSR, the Court need not resolve them for purposes of

12    determining the appropriate sentence for several reasons.            First, as

13    the Court noted on several occasions, whether or not Kabir may have

14    had low intelligence, prior medical issues or a difficult upbringing,

15    those issues are irrelevant to whether Kabir had the ability to

16    commit the charged offenses or distinguish between right and wrong.

17    Simply stated, none of the information about Kabir’s history and

18    characteristics excuse, condone or justify his plan to go to

19    Afghanistan to join the Taliban and Al-Qa’ida and to kill U.S.

20    Military Personnel, or his conduct in recruiting, encouraging and

21    instructing the co-defendants to do so.

22          Moreover, it is important to note that both the government’s and

23    the USPO’s recommended sentence of 420 months represents a

24    significant departure from the advisory guidelines range of life

25    imprisonment.     In fact, the USPO has specifically taken into account

26    Kabir’s self-reported history and characteristics in recommending a

27    sentence of 420 months.       Thus, no additional variance is warranted,

28    even when considering the background information provided by Kabir.

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 1                3.     A Lengthy Sentence Is Required to Protect the Public
                         and Deter Similar Crimes
 2

 3          As Dr. Sageman testified at trial, “the greatest threat facing

 4    America today comes from terrorist wanna-be[]s who gather information

 5    on the Internet and dare each other to take action.”            9/10/14 RT AM

 6    Session 79, 108.      This is particularly true as “those persons least

 7    likely to do harm individually are best able to do so collectively.”

 8    Id. at 108.      In the terrorism context, the need to deter adherents of

 9    neo-jihadi and other violent ideologies from dangerously crossing the

10    line between radicalization (merely embracing extremist doctrine) and

11    mobilization toward violent action, whether individually or in

12    groups, is stronger than in almost any other type of criminal case.

13    The need is particularly acute where a defendant like Kabir not only

14    chooses violence for himself but seeks to recruit others to join him.

15          In short, the 420 month sentence that the USPO and the

16    government recommend properly accounts for seriousness of Kabir’s

17    conduct.    Further, the recommended sentence promotes respect for the

18    law and protects the public from the continuing threat Kabir

19    presents.

20          Lastly, the recommended sentence affords a measure of deterrence

21    to others contemplating turning to violence in the sake of their

22    beliefs.    A lesser sentence would reward Kabir’s rationalizations for

23    his behavior and undermine some, if not all, of the sentencing

24    factors the Court must consider.        According, the recommended term is

25    sufficient but not greater than necessary to achieve the objectives

26    set forth in 18 U.S.C. § 3553.

27

28

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 1    IV.   CONCLUSION
 2          For the foregoing reasons, the government respectfully requests

 3    the Court impose a sentence of 420 months’ imprisonment, followed by

 4    a lifetime of supervised release and a special assessment of $400.

 5     Dated: February 9, 2015              Respectfully submitted,

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